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                    EXHIBIT 1
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                                                      FTX TRADING LTD., ET AL.
                                                        Case No. 22-11068 (KBO)
                                               Summary Chart of Certain Final Fee Applications

                                                              Fee Examiner’s                 Fee Examiner’s
                       Final Compensation                                      Final                                            Final
Professional                              Final               Recommended                    Recommended      Final Fees
                       Period & Final Fee                                      Expenses                                         Expenses
& Role in Case                            Fees Requested      Fee                            Expense          Approved
                       Application                                             Requested                                        Approved
                                                              Adjustments                    Adjustments
Sullivan & Cromwell
LLP                    11/11/22 – 10/8/24
Counsel to the         D.I. 29197           $236,969,698.00   $5,159,188.50    $799,355.63   $64,088.80       $231,810,509.50   $735,266.83
Debtors and Debtors-   Filed 1/10/25
In-Possession
Eversheds
Sutherland (US) LLP
Lead Counsel for the   5/1/23 – 10/8/24
Ad Hoc Committee of    D.I. 29861           $6,298,804.83     $0.00            $36,726.67    $0.00            $6,298,804.83     $36,726.67
Non-US Customers of    Filed 3/4/25
FTX.com
